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                           SOU THERN D ISTRICT OF FLOIU D A
                            CA SE N O.21-20112-CR-UN GA RO


 UN ITED STATES OF A M ERICA ,

                       Plaintiff,
 VS.

 SEALED ,




                   O RD ER O F TR AN SFER T O FU G ITIV E STA TU S

       THE abovelisted defendantts)aretransferredtotheClerk'sFugitiveFileuntilsuchtime
 asthedefendantts)isapprehended.
       DONE and ORDERED in ChambersattheUnited StatesDistrictCourt,M iam i,Florida

 this/$ dayot
            -March,2021.


                                              U RSULA UN GA R O
                                              UNITED STATESDi luc'
                                                                 rJUDGE


 cc: Counselofrecord
